         Case 8:16-ap-01114-ES Doc 47 Filed 08/16/17                                Entered 08/16/17 21:53:06                Desc
                             Imaged Certificate of Notice                           Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
Peters,
              Plaintiff                                                                           Adv. Proc. No. 16-01114-ES
Easter,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: admin                        Page 1 of 1                          Date Rcvd: Aug 14, 2017
                                      Form ID: pdf031                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 16, 2017.
dft            +Kent W Easter,   153 Baywood Dr,   Newport Beach, CA 92660-7130

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Bill Peters
pla               Kelli Peters
pla               Sydnie Peters
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 16, 2017                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 14, 2017 at the address(es) listed below:
              Robert H Marcereau    on behalf of Plaintiff Kelli Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Sydnie Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Bill Peters , nlipowski@mncalaw.com
              Robert P Goe   on behalf of Defendant Kent W Easter kmurphy@goeforlaw.com,
               rgoe@goeforlaw.com;goeforecf@gmail.com
              United States Trustee (SA)    ustpregion16.sa.ecf@usdoj.gov
              Weneta M Kosmala (TR)    ecf.alert+Kosmala@titlexi.com,
               wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
                                                                                            TOTAL: 6
Case 8:16-ap-01114-ES Doc 47 Filed 08/16/17                   Entered 08/16/17 21:53:06          Desc
                    Imaged Certificate of Notice              Page 2 of 3


     1   Robert P. Goe - State Bar No. 137019
         GOE & FORSYTHE, LLP
     2   18101 Von Karman Avenue, Suite 1200
         Irvine, CA 92612                                              FILED & ENTERED
     3   Telephone: (949) 798-2460
         Facsimile: (949) 955-9437
     4   rgoe@goeforlaw.com                                                  AUG 14 2017
     5   Attorneys for Defendant
                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
     6                                                                  BY reid       DEPUTY CLERK


     7                                UNITED STATES BANKRUPTCY COURT
                                                                  CHANGES MADE BY COURT
     8                                CENTRAL DISTRICT OF CALIFORNIA
     9                                       SANTA ANA DIVISION
    10
                                                        Case No.: 8:16-bk-10223-ES
    11   In re:
    12                                                  Chapter 7
         KENT W. EASTER,
    13                    Debtor.                       Adv. No.: 8:16-ap-01114-ES
         __________________________________
    14
         KELLI C. PETERS, BILL PETERS, and              ORDER APPROVING STIPULATION
    15   SYDNIE PETERS,                                 BETWEEN PLAINTIFFS AND DEFENDANT
                                                        TO CONTINUE PRETRIAL CONFERENCE
    16                                                  AND DEADLINES
                         Plaintiff,
    17                                                  Pretrial Conference:
         v.                                             Date: August 17, 2017
    18
                                                        Time: 9:30 a.m.
         KENT W. EASTER,                                Ctrm: 5A
    19
    20                   Defendant.                     Proposed Continued Pretrial Conference:
                                                        Date:   November 16, 2017
    21                                                  Time: 9:30 a.m.
                                                        Ctrm.: 5A
    22
    23
    24            Upon consideration of the Stipulation entered into by and among Plaintiff KELLI C.

    25   PETERS, BILL PETERS, and SYDNIE PETERS and defendant KENT W. EASTER by and

    26   through their respective counsel, to continue the Pretrial Conference ³6WLSODWLRQ´ ILOHG$XJXVW

    27   14, 2017 as Docket No. 45, and good cause appearing:

    28            IT IS ORDERED:



                                                          1
Case 8:16-ap-01114-ES Doc 47 Filed 08/16/17                 Entered 08/16/17 21:53:06      Desc
                    Imaged Certificate of Notice            Page 3 of 3


     1          1.      The Stipulation is approved;

     2          2.      The Pretrial Conference is continued from August 17, 2017 to November 16,

     3                  2017 at 9:30 a.m.

     4          3.      A Joint Pretrial Stipulation shall be filed by November 2, 2017.

     5                                                 ###

     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24 Date: August 14, 2017
    25
    26
    27
    28



                                                        2
